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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                 Eastern Division

Jorge Rojas
                                  Plaintiff,
v.                                                     Case No.: 1:24−cv−05166
                                                       Honorable Elaine E. Bucklo
Tax Relief Helpers, Inc.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 30, 2025:


       MINUTE entry before the Honorable Elaine E. Bucklo: The Court adopts the
revised 26(F) report. Fact Discovery is extended and ordered closed by 5/30/2025.
Pending mediation, Status hearing is reset for 6/9/2025 at 9:45 a.m. (to track the case only,
no appearance is required). The parties shall file a joint status report by 6/2/2025 and the
court will enter an appropriate order. Mailed notice. (mgh, )




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